

Matter of Litz (2023 NY Slip Op 00920)





Matter of Litz


2023 NY Slip Op 00920


Decided on February 16, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:February 16, 2023

PM-33-23
[*1]In the Matter of Molly Cerelda Harris Litz, an Attorney. (Attorney Registration No. 4111522.)

Calendar Date:February 6, 2023

Before:Egan Jr., J.P., Clark, Pritzker, Ceresia and McShan, JJ.

Molly Cerelda Harris Litz, Portland, Maine, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Molly Cerelda Harris Litz was admitted to practice by this Court in 2003 and lists a business address in Portland, Maine with the Office of Court Administration. Harris Litz now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Harris Litz's application.
Upon reading Harris Litz's affidavit sworn to January 12, 2023 and filed January 13, 2023, and upon reading the January 26, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that Harris Litz is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Egan Jr., J.P., Clark, Pritzker, Ceresia and McShan, JJ., concur.
ORDERED that Molly Cerelda Harris Litz's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Molly Cerelda Harris Litz's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Molly Cerelda Harris Litz is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Harris Litz is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Molly Cerelda Harris Litz shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








